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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

EFRAIN HERNANDEZ,         )
                          )
    Plaintiff,            )
                          )                   CIVIL ACTION NO.           1:21-cv-164
v.                        )
                          )
ZERO WASTE RECYCLING, LLC )
                          )                   JURY TRIAL DEMANDED
    Defendant.            )

                                   COMPLAINT

      COMES NOW Efrain Hernandez (“Hernandez”), Plaintiff herein, and files

this Complaint against the above-named Defendant, Zero Waste Recycling, LLC

(“ZWR”) as follows:

Introduction

      This is a lawsuit resulting from the willful violations of the Emergency Paid

Sick Leave Act, the Emergency Family Medical Leave Expansion Act, and the

Families First Coronavirus Response Act (as actionable through the Fair Labor

Standards Act (“FLSA”)) through the conduct of Defendant against Plaintiff, as

well as Defendant’s common law and statutory obligations to Plaintiff. Hernandez

seeks damages, pre-judgment interest, costs (including attorney’s fees), and

equitable and declaratory relief to the fullest extent allowed by law.

I.    THE PARTIES
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1.    Plaintiff Efrain Hernandez is and at all times material hereto has been a

female citizen of the United States and a resident of Grovetown, Georgia. Plaintiff

was an “employee” of Defendant as that term is defined under the FLSA and

related applicable case law.

1.    Defendant Zero Waste Recycling, LLC is a corporation based in Charlotte,

North Carolina, which conducts business within this State and District and

maintains its principal place of business at 301 Dupree Street, Charlotte, North

Carolina, 28208. Zero Waste is a corporation specializing in waste management.

Zero Waste is subject to personal jurisdiction in the State of Georgia for purposes

of this lawsuit and can be served through its registered agent, Registered Agents

Inc., 300 Colonist Center Parkway STE 100N, Roswell, GA 30076.

2.    Zero Waste was and is an “employer” within the meaning of the FLSA.

II.   JURISDICTION AND VENUE

6.    Plaintiff Hernandez performed work for Defendants within the jurisdiction

of this Court. Plaintiff Hernandez was terminated on or about May 25, 2020.

2.    At all times material herein, Defendant has been authorized to conduct

business within the State of Georgia, has transacted business in the State of

Georgia, employed Plaintiff in the State of Georgia, and has regularly solicited

business and derived substantial revenue from goods used and/or services rendered

in the State of Georgia.


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3.     Venue for this action is proper in this district and division pursuant to 28

U.S.C. § 1391 because Plaintiff resides in this judicial district, all of the and events

and omissions giving rise to the claims herein occurred in this judicial district, and

the employment at issue and events giving rise to the claims herein occurred in this

district and division.

4.     This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331.

III.   FACTS SUPPORTING PLAINTIFF’S CLAIMS

5.     Plaintiff first worked for Defendant as a bailer May through October, 2018.

Plaintiff worked again for Defendant as a bailer between February and May, 2020.

Plaintiff’s job duties as a bailer included running a bailer machine to compress and

bind cardboard.

6.     On May 12, 2020, Plaintiff was sent home by Defendant home due to having

a fever.

7.     On May 12, 2020, Plaintiff went to Augusta University Hospital to be

treated for his illness.

8.     During his visit, Plaintiff’s medical practitioner, Dr. Rolando Torres,

recommended that Plaintiff self-quarantine for two weeks out of concerns that

Plaintiff had contracted COVID-19.

9.     After his visit, Plaintiff informed Defendant that his medical practitioner

recommended a 14-day quarantine.


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10.   Plaintiff was not paid during this quarantine.

11.   Instead, Plaintiff’s employment was terminated on May 25, 2020 – thirteen

days after Plaintiff’s self-quarantine began.

IV.   PLAINTIFF’S CLAIMS

 Count One: Violation of the Emergency Paid Sick Leave Act (“EPSLA”) 29
                   C.F.R. § 826.20- Unpaid Sick Leave

12.   Plaintiff worked for Defendant at least 30 calendar days prior to his EPSLA

leave should have begun, and was thus eligible for EPSLA leave.

13.   The EPSLA went into effect on April 2, 2020, and expired on December 31,

2020, and it required all covered employers to provide paid sick leave to

employees with one of six qualifying conditions. 29 C.F.R. § 826.20.

14.   One of the provisions of the EPSLA is that the employee be “advised by a

health care provider to self-quarantine.”

15.   Plaintiff was at all times material hereto an “employee” as that term is

defined by 29 U.S.C. § 203(e), and incorporated into the EPSLA at 29 C.F.R. §

826.10(a).

16.   Plaintiff was at all times material hereto an “eligible employee” for purposes

of the EPSLA, as that term is defined by 29 U.S.C. § 826.10.

17.   Defendant was at all times material hereto Plaintiff’s “employer” as that

term is defined by 29 C.F.R. § 826.10(a)(i).



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18.   Defendant was at all times material hereto engaged in commerce or in an

industry or activity affecting commerce that employed less than 500 employees.

19.   Plaintiff informed Defendant that his health care provider had recommended

that he self-quarantine for 14 days.

20.   Defendant failed to compensate Plaintiff while on leave, and terminated his

employment while on leave.

21.   Defendant’s failure to provide paid sick leave violated the EPSLA and also

amounts to a failure to pay Plaintiff minimum wage as required by Section 6 of the

FLSA. 29 U.S.C. § 206. See 29 CFR § 826.151(b). As a direct and proximate

result of Defendants’ violation(s) of the EPSLA, Plaintiff is entitled to payment of

his “average regular rate” of pay for the two weeks during which it was

recommended that he self-quarantine and an equal amount as liquidated damages.

Plaintiff is further entitled attorney’s fees and costs of this action.

22.   Pursuant to 29 C.F.R. § 826.150, Plaintiff seeks recovery of the wages that

he would have been entitled to pursuant to the EPSLA, plus an equal amount of

liquidated damages, plus his attorney’s fees and costs.

 Count Two: Violation of the Emergency Paid Sick Leave Act (“EPSLA”) 29
                 C.F.R. § 826.20- Wrongful Termination

23.   Plaintiff informed Defendant of his medical provider’s recommendation to

self-quarantine for 14 days.

24.   Defendant responded by terminating Plaintiff’s employment.
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25.   As a direct and proximate result of Defendant’s violation(s) of the EPSLA,

Plaintiff was terminated.

26.   Plaintiff’s termination for taking leave under the EPSLA violates Section

15(a)(3) of the FLSA, 29 U.S.C. § 215(a)(3), and allows Plaintiff to bring a claim

under Sections 16 and 17 of the FLSA, 29 U.S.C. §§ 216 and 217.

27.   Pursuant to 29 C.F.R. § 826.150(2), Plaintiff seeks recovery of the wages

and benefits that he would have been entitled since his termination, future lost

wages and benefits, and an equal amount of liquidated damages, with interest, plus

his attorney’s fees and costs.

 Count Three: Violation of the Emergency Family Medical Leave Expansion
                 Act (“EFMLEA”), 29 C.F.R. § 826.10(a)

28.   Plaintiff worked for Defendant at least 30 calendar days prior to his

EFMLEA leave should have begun, so was eligible for EFMLEA leave.

29.   Plaintiff was at all times material hereto an “employee” for purposes of the

EFMLEA.

30.   Plaintiff was at all times material hereto an “eligible employee” for purposes

of the EFMLEA.

31.   Defendant was at all times material hereto Plaintiff’s “employer” as that

term is defined at 29 C.F.R. § 826.10(a)(i).




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32.     The EFMLEA went into effect on April 2, 2020, and it provides, in pertinent

part, “The Employee has been advised by a health care provider to self-quarantine

due to concerns related to COVID-19.” 29 C.F.R. § 826.20(a)(1)(i).

33.     Plaintiff informed Defendant that his health care provider had recommended

that he self-quarantine for 14 days.

34.     Defendant’s response was to terminate Plaintiff’s employment before the

expiration of the 14 days.

35.     Pursuant to 29 C.F.R. § 826.150(2), Plaintiff seeks recovery of the wages

that he would have been entitled to pursuant to the EPSLA, plus an equal amount

of liquidated damages, plus his attorney’s fees and costs.

      Count Four: Violations of the Families First Coronavirus Response Act
                     (“FFCRA”), 29 U.S.C. § 5101, et seq.

36.     Employees qualify for paid sick time if they are unable to work after having

“been advised by a health care provider to self-quarantine related to COVID-19.”

37.      Defendant failed to pay Plaintiff for his sick leave after he was advised by a

health-care provider to self-quarantine.

38.     In retaliation for taking sick leave pursuant to the FFCRA, Defendant

terminated Plaintiff’s employment in violation of the FFCRA.

39.     Defendant knew or should have known that its actions violated the FFCRA.

Relief Sought



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      Plaintiff Hernandez seeks a judgment against Defendants granting Plaintiff

Hernandez compensatory (including, but not limited to back pay, front pay, and

loss of benefits) damages, liquidated damages, interest, attorneys’ fees, costs of

litigation, and any and all additional relief as an empaneled jury and this Court

deem appropriate.

Conclusion

      WHEREFORE Plaintiff respectfully requests a trial by jury on all of

Plaintiff’s claims which are so triable, and that judgment be entered in Plaintiff’s

favor and against Defendants on all counts set forth above.

      Respectfully submitted this 1st day of November, 2021.


                              Tyler B. Kaspers
                              Tyler B. Kaspers, Ga. Bar No. 445708
                              THE KASPERS FIRM, LLC
                              152 New Street, Suite 109B
                              Macon, GA 31201
                              404-944-3128 (Phone)
                              tyler@kaspersfirm.com




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